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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )                   No. 1:18-cv-10225-MLW
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )          DECLARATION OF COLLEEN
similarly situated,                      )          MCCULLOUGH IN SUPPORT OF
                                         )          PETITIONERS’ MOTION TO
                Plaintiffs-Petitioners,  )          COMPEL DISCOVERY
                                         )
        v.                               )          EXHIBITS FILED UNDER SEAL
                                         )
CHAD WOLF, et al.,                       )
                                         )
                Defendants-Respondents.  )
                                         )


       I, Colleen McCullough, declare as follows:

       1.      I am an attorney with the firm of Wilmer Cutler Pickering Hale and Dorr LLP,

counsel for the Petitioners in the above-captioned matter. I am an attorney licensed to practice in

the Commonwealth of Massachusetts. I am over the age of eighteen and I have personal

knowledge of the facts set forth in this declaration. If called as a witness, I could and would

competently testify thereto. I submit this Declaration in support of Petitioners’ Motion to

Compel Discovery.

       2.       Attached hereto as Exhibit A is a true and correct excerpted copy of Petitioners’

First Set of Requests for Production, served on September 25, 2019.

       3.      Attached hereto as Exhibit B is a true and correct excerpted copy of Respondents’

Responses and Objections to Petitioners’ First Set of Requests for Production (Revised), served

on November 8, 2019.
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       4.     Attached hereto as Exhibit C is a true and correct copy of a letter sent from Mr.

Stephen N. Provazza to Ms. Mary Larakers by e-mail on February 26, 2020.

       5.     Attached hereto as Exhibit D is a true and correct copy of a letter sent from Ms.

Colleen McCullough to Ms. Mary Larakers by e-mail on November 26, 2019.

       6.     Attached hereto as Exhibit E is a true and correct copy of a letter sent from Mr.

Stephen N. Provazza to Ms. Mary Larakers by e-mail on December 19, 2019.

       7.     Attached hereto as Exhibit F is a true and correct copy of a letter sent from Mr.

Stephen N. Provazza to Ms. Mary Larakers by e-mail on October 2, 2020.

       8.     Attached hereto as Exhibit G is a true and correct excerpted copy of Petitioners’

Second Set of Requests for Production, served on June 1, 2020.

       9.     Attached hereto as Exhibit H is a true and correct excerpted copy of Respondents’

Responses and Objections to Petitioners’ Second Set of Requests for Production (Corrected),

served on June 30, 2020.

       10.    Attached hereto as Exhibit I is a true and correct copy of a letter sent from Mr.

Stephen N. Provazza to Ms. Mary Larakers by e-mail on July 23, 2020.

       11.    Attached hereto as Exhibit J is a true and correct copy of a letter sent from Mr.

Stephen N. Provazza to Ms. Mary Larakers by e-mail on August 10, 2020.

       12.    Attached hereto as Exhibit K is a true and correct copy of an e-mail sent by Mr.

William Weiland (William.H.Weiland@usdoj.gov) to Petitioners’ counsel and other counsel for

Respondents on August 24, 2020. Pursuant to their Motion to Seal filed contemporaneously,

Petitioners have redacted certain information protected from disclosure by the Federal Rules of

Evidence.




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       13.     Attached hereto as Exhibit L is a true and correct copy of a November 22, 2017 e-

mail chain produced by Respondents at GOV002892 through GOV002895 and is designated

“Confidential” by Respondents’ counsel pursuant to the Stipulated Protective Order. Exhibit L

was entered as Exhibit 6 to the October 21, 2020 Deposition of Andrew Graham. Pursuant to

their Motion to Seal filed contemporaneously, Petitioners have redacted certain identifying or

sensitive personal information from the document for public filing.

       14.     Attached hereto as Exhibit M is a true and correct copy of a portion of the USCIS

Consolidated Handbook of Adjudication Procedures, Volume 13, Part B, Chapter 2, from

October 4, 2017. Exhibit M was entered as Exhibit 3 to the September 4, 2020 Deposition of

Michael McCleary.

       15.     Attached hereto as Exhibit N is a true and correct copy of a portion of the USCIS

Consolidated Handbook of Adjudication Procedures, Volume 13, Part B, Chapter 2, from

December 17, 2019. Exhibit N was entered as Exhibit 4 to the September 4, 2020 Deposition of

Michael McCleary.

       16.     Attached hereto as Exhibit O is a true and correct copy of a Memorandum from

Matthew T. Albence, Executive Associate Director of ICE, dated February 21, 2017, produced

by Respondents at ICE-00011400 through ICE-00011403. Exhibit O was entered as Exhibit 9 to

the August 14, 2020 Deposition of Christopher Cronen.

       17.     Attached hereto as Exhibit P is a true and correct excerpted copy of Respondents’

[ICE’s] Responses and Objections to Petitioners’ First Set of Requests for Interrogatories

(Revised), served on November 8, 2019.

       18.     Attached hereto as Exhibit Q is a true and correct excerpted copy of the transcript

of the deposition of Christopher Cronen, taken on August 14, 2020.



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       19.     Attached hereto as Exhibit R is a true and correct excerpted copy of the transcript

of the deposition of Michael McCleary, taken on September 4, 2020, portions of which have

been designated “Confidential” pursuant to the Stipulated Protective Order. Pursuant to their

Motion to Seal filed contemporaneously, Petitioners have redacted certain confidential

information for public filing.

       20.     Attached hereto as Exhibit S is a true and correct excerpted copy of the transcript

of the deposition of Denis Riordan, taken on August 5, 2020.

       21.     Attached hereto as Exhibit T is a true and correct copy of a February 5, 2018

email chain produced by Respondents at ICE-00011535 through ICE-00011536 and is

designated “Confidential” pursuant to the Stipulated Protective Order. Pursuant to their Motion

to Seal filed contemporaneously, Petitioners have redacted certain identifying or sensitive

personal information from the document for public filing.

       22.     Attached hereto as Exhibit U is a true and correct copy of a February 15, 2018

email chain produced by Respondents at ICE-0001470 through ICE-0001485 and is designated

“Confidential” pursuant to the Stipulated Protective Order. Pursuant to their Motion to Seal filed

contemporaneously, Petitioners have redacted certain identifying or sensitive personal

information from the document for public filing.

       I declare under penalty of perjury that, to the best of my knowledge and belief, the facts

set forth above are true and correct.

       Executed this 30th day of November, 2020, in Boston, Massachusetts.




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                            /s/ Colleen McCullough
                            Colleen McCullough (BBO # 696455)
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